                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

JEFF BAILEY, WILLIAM KING, JR.,       )
PLUMBERS AND STEAMFITTERS LOCAL       )
UNION 43 HEALTH AND WELFARE           )
FUND, PLUMBERS AND STEAMFITTERS       )                        Civil Action No. 3:22-cv-00682
LOCAL UNION 43 PENSION TRUST, and     )
PLUMBERS AND STEAMFITTERS LOCAL       )
UNION 43 ANNUITY FUND,                )                        Judge William L. Campbell, Jr.
                                      )                        Magistrate Judge Jeffery S. Frensley
      Plaintiffs,                     )
                                      )
v.                                    )
                                      )
ARNOLD’S PLUMBING AND UTILITIES, LLC, )
and TRACEY ARNOLD,                    )
                                      )
      Defendants.                     )

                                                ORDER

         Pending before the Court is Plaintiffs’ Notice of Voluntary Dismissal without Prejudice.

(DE 21). Accordingly, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), this action is DISMISSED

without prejudice.

         The Clerk is directed to close the file.

          It is so ORDERED.



                                                         HON. WILLIAM L. CAMPBELL, JR.
                                                         UNITED STATES DISTRICT JUDGE




                                                     1
4878-2515-2557, v. 1
   Case 3:22-cv-00682          Document 22          Filed 03/29/23   Page 1 of 2 PageID #: 65
APPROVED FOR ENTRY:

  /s/ R. Jan Jennings
R. Jan Jennings, BPR No. 1536
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been served via United States
First-Class Mail to:

            Arnolds Plumbing & Utilities, LLC         Tracey Arnold
            Tracey Arnold, Registered Agent           Arnolds Plumbing & Utilities, Inc.
            1117 Boss Road                            1117 Boss Road
            Chickamauga, Georgia 30707                Chickamauga, Georgia 30707

          This 27th day of March 2023.
                                                       /s/ R. Jan Jennings
                                                     R. Jan Jennings




                                                 2
4878-2515-2557, v. 1
   Case 3:22-cv-00682        Document 22        Filed 03/29/23     Page 2 of 2 PageID #: 66
